Case 3:01-cr-01652-JM                Document 1159      Filed 04/24/09      PageID.6098       Page 1 of 1



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  8                                    UNITED STATES DISTRICT COURT
  9                                  SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                                        CASE NO. 01cr1652 JM
 12                                    Plaintiff/Respondent,            ORDER DENYING MOTION FOR
                 vs.                                                    LEAVE TO PROCEED IN FORMA
 13                                                                     PAUPERIS
       VICTOR SAVCHENKO,
 14
                                       Defendant/Petitioner.
 15
 16
             On April 20, 2009 Defendant Victor Savchenko submitted a motion for leave to appeal in
 17
      forma pauperis. The court denies the motion without prejudice, not because Defendant fails to qualify
 18
      for in forma pauperis status, but because there is not presently an appealable order pending in this
 19
      action. Briefing on Defendant’s 28 U.S.C. §2255 motion will be complete on June 19, 2009.1
 20
             IT IS SO ORDERED.
 21
      DATED: April 24, 2009
 22
 23                                                            Hon. Jeffrey T. Miller
                                                               United States District Judge
 24
      cc:              All parties
 25
 26
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             1
                On March 30, 2009 the court denied an earlier request to proceed in forma pauperis because
 28   there is no filing fee associated with the commencement of a motion brought pursuant to 28 U.S.C.
      §2255.

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